                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

UNITED STATES OF AMERICA,                           )
                                                    )
               Plaintiff,                           )
                                                    )
v.                                                  )           No. 3:09-CR-104
                                                    )           (VARLAN/SHIRLEY)
PARTHENIA J. CLABOUGH,                              )
GABRIEL E. DIAZ,                                    )
CHRISTOPHER W. JONES, and                           )
CORTNEY BUNCH ,                                     )
                                                    )
               Defendants.                          )


                               MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This case is before the Court pursuant to Defendant Bunch’s Motion to

Continue Pretrial Conference and Trial [Doc. 37] filed on September 15, 2009. The parties appeared

before the undersigned on September 17, 2009 for a scheduled motion hearing and pretrial

conference. Assistant United States Attorney Matthew Morris was present at the hearing on behalf

of the government. Attorney Bradley Henry appeared on behalf of Defendant Bunch. Attorney

Bruce Poston appeared on behalf of Defendant Jones. Attorney Ronald Newcomb appeared on

behalf of Defendant Clabough. Attorney Angela Morelock appeared on behalf of Defendant Diaz,

who was also present.

       Defendant Bunch’s motion asks the Court to continue the motion filing deadline, the pretrial

conference, the plea negotiation deadline, and the trial date because Defendant Bunch made her


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initial appearance in this case just 17 days ago and her defense counsel, Attorney Henry, received

what he describes as “voluminous” discovery only 15 days ago. The motion states that Defendant

Bunch and Attorney Henry will require additional time to review the discovery to determine whether

any motions are warranted. At the September 17 hearing, Attorney Newcomb orally joined in

Defendant Bunch’s motion to continue on behalf of his client, Defendant Clabough. Attorneys

Morelock and Poston stated that their clients, Defendants Diaz and Jones, had no objection to the

motion. The government also had no objection. Defense counsel all stated that their clients were

aware of their speedy trial rights. Defense counsel also stated that they had discussed the need for

a trial continuance with their clients and that all of the Defendants wanted the trial to be continued.

Defendant Diaz, the only Defendant detained thus far in this case, himself stated that he wanted the

trial continued and that he understood that he would remain in custody pending the new trial date.

 The parties agreed on a new trial date of January 11, 2010. The parties also agreed that all time

between the September 17, 2009 hearing and the new trial date of January 11, 2010 is fully

excludable time under the Speedy Trial Act.

       The Court finds that the parties have shown good cause to continue the motion filing

deadline, the pretrial conference, and the plea negotiation deadline. The Court ORDERS that the

motion filing deadline be extended to October 1, 2009 and the motion response deadline be set as

October 15, 2009; the plea negotiation deadline be extended to January 4, 2010; and the pretrial

conference before the undersigned be reset for October 20, 2009, at 9:30 a.m.

       The Court also finds that Defendant Bunch’s request to continue the trial is well-taken and

that the ends of justice served by continuing the trial outweigh the best interest of the Defendants

and the public in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Defendants have all recently


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received extensive discovery and they need the reasonable time necessary to review that discovery

in order to effectively prepare for trial. See 18 U.S.C. § 3161(h)(7)(B)(iv). The Defendants also

need the reasonable time necessary to review the discovery to determine whether the filing of any

pretrial motions is warranted. See 18 U.S.C. § 3161(h)(7)(B)(iv) and (h)(1)(D). Following the filing

of any pretrial motions, the Court will need time, not to exceed thirty days, to prepare, as may be

appropriate, a memorandum and order or a report and recommendation on the motion. See 18

U.S.C. § 3161(h)(1)(H). Finally, the parties will need time to prepare for trial in light of the ultimate

ruling on any motions. The Court finds, and the parties agree, that all of this could not take place

before the October 5, 2009 trial date or in less than four months. Thus, without a trial continuance,

counsel would not have the reasonable time necessary to prepare for trial despite their use of due

diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

        Accordingly, Defendant Bunch’s Motion to Continue [Doc. 37] is GRANTED. The Court

ORDERS that the trial be continued and reset to commence on January 11, 2010. The Court finds

that all the time between the September 17, 2009 hearing and the new trial date of January 11, 2010

is fully excludable time under the Speedy Trial Act for the reasons set forth herein. See 18 U.S.C.

§ 3161(h)(7)(A)-(B) and (h)(1)(D).

        It is ORDERED:

        (1) The motion filing deadline is extended to October 1, 2009 and the motion
        response deadline is set as October 15, 2009;

        (2) The pretrial conference before the undersigned is reset for October 20, 2009, at 9:30
        a.m.;
        (3) The plea negotiation deadline is extended to January 4, 2010;

        (4) The trial of this matter is reset to commence on January 11, 2010, before the
        Honorable Thomas A. Varlan, United States District Judge; and


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      (5) All time between the September 17, 2009 hearing and the new trial date of
      January 11, 2010 is fully excludable time under the Speedy Trial Act for the reasons
      set forth herein.

      IT IS SO ORDERED.

                                                   ENTER:


                                                     s/ C. Clifford Shirley, Jr.
                                                   United States Magistrate Judge




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